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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SYDNEY D. DENKINS,

                       Plaintiff,
                                                          CIVIL ACTION
                                                          NO. 20-02228
            v.


 WILLIAM PENN SCHOOL DISTRICT
 and JANE ANN HARBERT, individually,
                 Defendants.


                                        ORDER

      AND NOW, this 2nd day of October 2020, upon consideration of Defendants

Motion to Dismiss or Strike, (ECF No. 10), and Plaintiff s Response, (ECF No. 11), it is

hereby ORDERED that Defendants Motion is DENIED.



                                                       BY THE COURT:


                                                        /s/ Gerald J. Pappert
                                                       ________________________
                                                       GERALD J. PAPPERT, J.




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